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1
2        UNITED       STATES DISTRICT             COURT
         SOUTHERN          DISTRICT     OF NEW        YORK
3        Case       No.    1:15-cv-06119
4        ----------------------------------------x
5        STEVEN       E.    GREER, MD,
6                                           Plaintiff,
7                     -    against -
8        DENNIS       MEHIEL, ROBERT            SERPICO, THE BATTERY
         PARK       CITY    AUTHORITY, HOWARD                 MILSTEIN,
         STEVEN       ROSSI, JANET          MARTIN, MILFORD
         MANAGEMENT, AND            MARINERS          COVE      SITE B
10       ASSOCIATES,
11
                                            Defendants.
12
         ----------------------------------------x
13
                                        April 25, 2017
14                                      2:02 p.m.
15
16                                CONFIDENTIAL
17                  DEPOSITION      of STEPHEN            ROSSI, one       of
18      the   Defendants          herein, held            at the    offices
19      of Rosenberg          &   Estis, P.C., located at 733
20      Third       Avenue, New       York, New           York    10017,
21      before       Anthony      Giarro, a Registered
22      Professional Reporter                 and     a   Notary Public
23      of    the    State    of New      York.
24
25


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1                  STEPHEN            ROSSI         --       CONFIDENTIAL
2        A    P    P    E    A   R    A    N    C   E    S
3
4        STEVEN             E.   GREER, MD
             Pro       Se    Plaintiff
5            4674       Tatersall               Court
             Columbus, Ohio 43230
6            (via       telephone)
7
8        ROSENBERG               &    ESTIS, P.C.
             Attorneys               for       Defendants
9            Mariners            Cove          Site      B    Associates, Milford
             Management, Howard                          Milstein,        Janet Martin
10           and       Steven         Rossi
             733       Third         Avenue
11           New       York, New               York 10017
12       BY:           DEBORAH            E.    RIEGEL, ESQ.
13
14
15       SHER          TREMONTE, L.L.P.
             Attorneys               for       Defendants
16           Battery Park                  City Authority and Robert
             Serpico
17           90 Broad Street
             New       York, New               York 10004
18
         BY:           JUSTIN         J. GUNNELL, ESQ.
19                     MICHAEL            TREMONTE, ESQ.
                       (via      telephone)
20
21
22
23
24       ALSO          PRESENT:
25                     ABBY      GOLDENBERG, ESQ.


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1                   STEPHEN ROSSI -- CONFIDENTIAL
2              understand what you're asking.
3                          DR. GREER:            Sure.
4               Q          What I'm trying to get at:
5       Was I a renter at 35F at 200 Rector Place
6       and for how long?
7               A          Yes.      I believe the lease
8       may go back to 2002, 2003, the initial
9       lease.
10              Q          Are you aware that someone
11      at Milford Management or Mariners Cove
12      decided to not renew my lease in early
13      2014?        Are you aware of that?
14              A          Yes.
15              Q          Who at Milford Management or
16      Mariners Cove personally made that
17      decision?
18              A          I did.
19              Q          Did anyone instruct you to
20      make that decision or did you come up
21      with it on your own?
22              A          No one instructed me to make
23      that decision.
24              Q          In January of 2014, do you
25      recall me being in your office at 99

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1                   STEPHEN ROSSI -- CONFIDENTIAL

2               Q           Who is Robert Serpico?

3               A           I believe his last position

4       was CFO, chief financial officer, of

5       Battery Park City Authority.

6               Q           Had     you ever met Mr. Serpico

7       in person?

8               A           Yes.

9               Q           For how        many       years or

10      decades have        you known Mr. Serpico?

11              A           I've known Bob probably

12      since 1986,         87.

13              Q           Do    you meet regularly, once

14      a month, for example, to discuss any

15      business matters?

16              A           No.

17              Q           Since      January of 2013, so

18      the last few        years, have            you ever met

19      Robert Serpico at a coffee shop or a

20      restaurant in        the neighborhood?

21              A           Yes.

22              Q           What was the purpose of that

23      meeting?       Was it to discuss anything

24      about Steven Greer?

25              A           No.

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1                   STEPHEN ROSSI -- CONFIDENTIAL
2               Q          Was it official business
3       dealing with taxes or pilot fees?
4               A          I would say it was a
5       combination of the relationship I had
6       with Bob on a personal basis and also
7       trying to navigate some business issues.
8               Q          Why would you prefer to meet
9       at a coffee shop instead of the BPCA
10      offices or your office?
11              A          No reason.            It was
12      convenient.
13              Q          Did Robert Serpico ever
14      e-mail you or call you sometime in the
15      year 2013, asking you to investigate the
16      status of Steven Greer's rental apartment
17      lease, whether I was late in rent or any
18      other matters regarding me?
19              A          I don't believe so.
20              Q          Can you be more certain?
21      Yes or no?
22                         MS. RIEGEL:             Objection.      He
23             answered your question, Dr. Greer.
24                         DR. GREER:            I need a yes or
25             no.

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 1                    STEPHEN ROSSI -- CONFIDENTIAL

 2~!              A          I believe it's 2015.              Or it

 3~       might have been '14 --

 4',              Q          Before her retirement,

 5        describe her job role.                And did she

 6~~      report to       you?

 7                           MS. RIEGEL:            Dr. Greer, you

 8              cut Mr. Rossi off.              And he was

 9~'            finishing his answer.

10                           THE WITNESS:             Yeah.

11 I              A          Just to be clear, she either

12        retired May of 2014 or May of 2015.

13                Q          Did she report to              you and

14i       what was her job role?

15~'              A          She reported to me.               And she

16~,      managed some of the properties in Battery

17~I      Park City.

18'               Q          Did Lorraine Doyle play any

19~       role in       the decision that you made to not

20        renew my apartment lease?

2 1 '~,           A          Y e s.

22',              Q          That was a "yes"?

23                A          That was a "yes."

24                Q          Explain how.             What role did

25~~1     she play?
           _     __
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1                   STEPHEN ROSSI -- CONFIDENTIAL

2               A           It was based on                     a   review      of

3       all the facts, surrounding                        your occupancy

4       of Apartment 35F.

5               Q           I   need        you     to be specific.

6                           What facts are                  you       referring

7       to?

8               A           It would have been                        the

9       rental history.               We discussed the

10      employees       that were coming forward                            with

11      issues regarding              yourself and                  the

12      resident complaints from not only                                 the

13      residents, some of the residents in

14      Liberty Court but also some of the

15      adjacent apartments.

16              Q           What do           you     mean          by adjacent

17      apartments?         A totally different building

18      or    what?

19              A           No.         The adjacent apartments

20      to 35F would        have included 35G, 35E are

21      two    that come        to    mind.

22              Q           Did Robert Serpico and

23      Lorraine Doyle ever meet in                         person, to

24      your knowledge?

25                          MS. RIEGEL:                 Objection.              You

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1                   STEPHEN ROSSI -- CONFIDENTIAL
2                        C E R T I F I C A T I O N
3
4
5                   I, ANTHONY GIARRO, a Shorthand
6       Reporter and a Notary Public, do hereby
7       certify that the foregoing witness, STEPHEN
8       ROSSI, was duly sworn on the date
9       indicated, and that the foregoing, to the
10      best of my ability, is a true and accurate
11      transcription of my stenographic notes.
12                  I further certify that I am not
13      employed by nor related to any party to
14      this action.
15
16
17                                         <%signature%>
                                         ____________________
18                                           ANTHONY GIARRO
19
20
21
22
23
24
25

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